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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Alexandria Division)

 CURTIS LEVAR WELLS, JR.,                         )
 Plaintiff,                                       )
                                                  )
 v.                                               )   Case No.       1:22-cv-00140-MSN-IDD
                                                  )
 JAVIER FUENTES, et al.,                          )
 Defendants                                       )
                                                  )

                             PLAINTIFF’S NOTICE OF APPEAL

        Plaintiff Curtis Levar Wells, Jr., appeals to the United States Court of Appeals for the

 Fourth Circuit from the Memorandum Opinion and Order entered June 2, 2023, granting

 Defendants’ Motions to Dismiss and Denying Plaintiff’s Motion to Strike. (Dkt. No. 94).

 Dated June 9, 2023.

                                              Respectfully submitted,

                                              Curtis Wells,

                                              By: /s/ Matthew A. Crist
                                              Counsel

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                                  CERTIFICATE OF SERVICE

         I hereby certify on this day, June 9, 2023, that the foregoing paper was filed and served

 with the Clerk of Court via the Court’s CM/ECF system, which will send notice of such filing to

 all registered users.


                                                /s/ Matthew A. Crist
                                               Matthew A. Crist
                                               Counsel for Plaintiff




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